                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CRIMINAL DOCKET NO.: 5:06CR44

UNITED STATES OF AMERICA                  )
                                          )
            vs.                           )
                                          )                         ORDER
PHILLIP MCKINNEY STIKELEATHER,            )
                                          )
            Defendant.                    )
_________________________________________ )

       THIS MATTER is before the Court on the Government’s “Notice of Appeal and Motion

for Revocation and Stay of the Magistrate’s Order,” filed August 11, 2006.

       On July 27, 2006, Defendant was charged by way of a Bill of Indictment with conspiracy

to possess with intent to distribute methamphetamine in violation of 21 U.S.C. §§ 841, 846

(Count One), and possession with intent to distribute methamphetamine and aiding and abetting,

in violation of 21 U.S.C. § 841 and 18 U.S.C. § 2 (Counts Two, Twenty-Three and Twenty-

Four). Chief United States Magistrate Judge Carl Horn presided over Defendant’s original

detention hearing on August 11, 2006. At the conclusion of the hearing, Defendant was ordered

released.

       Since the Grand Jury found that probable cause exists that Defendant committed an

offense for which a maximum term of imprisonment of ten (10) years or more is prescribed, a

rebuttable presumption arises that no condition or combination of conditions will reasonably

assure the appearance of a person as required and the safety of the community. 18 U.S.C. §

3142. Defendant contends that this presumption is rebutted in this matter due to the fact that he

was employed prior to his arrest, he has a child and wife to support, and he has no real criminal


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history record. At the conclusion of the hearing, Magistrate Judge Horn granted Defendant’s

Motion for Bond and released Defendant. The Magistrate Judge concluded that the fact that

Defendant had been indicted, had a child to support, could live with his wife, and did not have a

significant criminal history record were all sufficient factors to warrant release at that time.

Moreover, Magistrate Judge Horn released the Defendant upon the conditions that Defendant: (1)

execute an unsecured bond of $25,000; (2) engage in full-time employment; (3) comply with

electronic monitoring; (4) continue with regular drug testing and drug treatment; (5) support his

child; (6) live with his wife; and (7) not be released from detention until the electronic

monitoring was in place. The Government opposes this release and moves for an Order of

Revocation of the Magistrate Judge’s Order of Release.

       This Court reviews de novo the Magistrate Judge’s detention order. United States v.

Williams, 753 F.2d 329, 333 (4th Cir. 1985). The Court has reviewed the recording of the hearing

before Magistrate Judge Horn, as well as the contents of the criminal file in this matter. In

determining whether there are conditions of release that will reasonably assure the appearance of

the Defendant and the safety of other persons and the community, the Court must consider all the

evidence regarding:

       (1)     the nature and circumstances of the offense charged, including whether the
               offense is a crime of violence or involves a narcotic drug;

       (2)     the weight of the evidence against the person;

       (3)     the history and characteristics of the person, including –
               (A)     the person’s character, physical and mental condition, family ties,
                       employment, financial resources, length of residence in the
                       community, community ties, past conduct, history relating to drug
                       or alcohol abuse, criminal history, and record concerning
                       appearances at court proceedings; and


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               (B)     whether, at the time of the current offense or arrest, the person was
                       on probation, on parole, or on other release pending trial,
                       sentencing, appeal, or completion of sentence for an offense under
                       Federal, State, or local law; and

       (4)     the nature and seriousness of the danger to any person or the community
               that would be posed upon the person’s release. . . .

18 U.S.C. § 3142(g).

       Upon review of these factors and for the reasons stated herein, the Court concludes that

bond is not appropriate in this matter. In support of this finding, the Court notes that Defendant

has been indicted for an offense for which a maximum term of imprisonment of ten years or

more is prescribed by the Controlled Substances Act, 21 U.S.C. § 801 et seq. Moreover, the

United States Probation Office recommended in its pre-trial report that Defendant be detained

and participate in a 45-day drug rehabilitation program before the Court reassesses whether

Defendant should be released on bond. The Court agrees with that assessment and will order that

the matter of bond be reviewed after Defendant completes such drug treatment program.

Additionally, the other circumstances cited by Defendant - his prior criminal history, his need to

support his wife and child, and his ability to participate in out-patient drug counseling - are not

sufficient circumstances to overcome the presumption of detention. Taking all of the factors into

consideration, the Court finds that no condition or combination of conditions of bond reasonably

will assure the appearance of the Defendant and the safety of other persons and the community.

       IT IS, THEREFORE, ORDERED that the Government’s “Notice of Appeal and

Motion for Revocation of Magistrate’s Order” is hereby GRANTED. Accordingly, the Order of

Magistrate Judge Horn authorizing release is hereby VACATED.

       IT IS FURTHER ORDERED that the Defendant be DETAINED pending further order


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of this Court.

       IT IS FURTHER ORDERED that Defense Counsel may notify the Court upon

Defendant’s completion of the Bureau of Prison’s drug treatment program and request that the

Court reconsider the issue of bond at that time.

       IT IS FURTHER ORDERED that the Clerk shall certify copies of this Order to Defense

Counsel, the United States Attorney, the United States Marshal Service, and the United States

Probation Office.



                                                   Signed: August 14, 2006




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